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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION
  BRANDON GIBSON,
         Plaintiff,

  v.                                           Case No: 8:20-cv-01961-VMC-CPT

  FACTORTRUST, INC., et al.,
        Defendants.
  ____________________________________/

                               NOTICE OF SETTLEMENT

         In accordance with Local Rule 3.08, Plaintiff hereby provides notice that Plaintiff

  and the following defendants have reached settlements in this case:

                Niizhwaaswi, LLC,

                LDF Holdings, LLC,

                Jessi Lee Phillips Lorenzo,

                Creditserve, Inc.,

                Eric Welch,

                RBC Servicing, LLC,

                Skytrail Servicing Group LLC, and

                William C. Pruett

         Upon completion of the terms of the settlements, Plaintiff will file the appropriate

  documents to dismiss the respective defendant(s) from this case with prejudice.

         Nothing herein affects Plaintiff’s claims against Defendants FactorTrust, Inc.,

  FSST Financial, LLC, Flandreau Santee Sioux Tribe, The Iipay Nation of Santa Ysabel,

  Axis Advance, LLC, or Blue Dart Ventures, LLC.
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  Respectfully submitted on August 24, 2020.

                                                   /s/ Bryan Geiger
                                                   Bryan J. Geiger
                                                   Florida Bar # 119168
                                                   Seraph Legal, P.A.
                                                   2002 E. 5th Avenue, Suite 104
                                                   Tampa, FL 33605
                                                   (813) 321-2348
                                                   bgeiger@seraphlegal.com
                                                   Counsel for Plaintiff


                             CERTIFICATE OF SERVICE
          I HEREBY CERTIFY that on August 24, 2020 a true and correct copy of foregoing
  was filed electronically via the CM/ECF System and served on counsel of record via e-
  notice.

                                                   /s/ Bryan J. Geiger
                                                   Bryan J. Geiger, Esq.
                                                   FL Bar # 119168
